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10
                              UNITED STATES DISTRICT COURT
11                             FOR THE DISTRICT OF NEVADA

12
     JOSE VALDEZ-JIMENEZ,                       )   CASE NO.   2:19 CV 581
13                                              )
                           Petitioner,          )
14
                                                )   NOTICE OF UPCOMING TRIAL
15                                              )   AND REQUEST FOR EXPEDITED
                                                )   RULING
16          v.                                  )
                                                )
17
     Sheriff JOSEPH LOMBARDO,                   )
18   Clark County Sheriff,                      )
                                                )
19                         Respondent.          )
                                                )
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 1          Petitioner Jose Valdez-Jimenez respectfully submits this Notice to alert the Court that a
 2   trial has been scheduled in the State prosecution against him, and to respectfully ask that the
 3   Court rule on his Petition as soon as is reasonably possible.
 4          Petitioner was arrested on May 28, 2018, and has been incarcerated ever since. He filed
 5   the instant Petition on April 5, 2019. (Doc. 1.) On April 12, 2019, this Court granted Petitioner’s
 6   emergency motion to expedite consideration of this case. (Doc. 12.) “The Court [found] that
 7   Petitioner has been incarcerated for ten months,” that he “has had a petition pending in state
 8   court since July 2018,” and that his federal “petition for relief merits immediate attention.” (Id.
 9   at 1.) Petitioner’s criminal trial is now scheduled for August 12, 2019. (Ex. A, Register of
10   Actions.)
11          Petitioner may be irrevocably prejudiced if this Court does not rule on his Petition soon.
12   Unless his August 12 trial ends in a mistrial, Petitioner will either be acquitted and released or
13   convicted and sentenced; either way, his pretrial detention will be over, and this Petition will
14   be moot. In the interim Petitioner is being jailed without the protections required by the
15   Constitution, and if this Court does not rule shortly, Petitioner will have suffered all of the harm
16   that this Court’s ruling could have cured. Unless this Court rules extremely soon, the party
17   against whom this Court rules will permanently lose the right to appeal this Court’s ruling. E.g.,
18   Burnett v. Lampert, 432 F.3d 996, 1001 (9th Cir. 2005) (holding that habeas is unavailable
19   where petitioner was released and reincarcerated pending consideration of petition). And if
20   Petitioner is convicted at trial and sentenced to prison before this Court’s ruling, he will not be
21   able to say goodbye to his family and to settle his affairs before his sentence. Cf. Ragbir v.
22   Sessions, No. 18-CV-236 (KBF), 2018 WL 623557, at *1 (S.D.N.Y. Jan. 29, 2018) (“There is,
23   and ought to be in this great country, the freedom to say goodbye. That is, the freedom to hug
24   one’s spouse and children, the freedom to organize the myriad of human affairs that collect over
25   time.”).
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 1          Undersigned counsel understand that the Court has many other pending matters, and for
 2   that reason counsel apologize for any burden this emergency Petition may create for the Court’s
 3   docket. Counsel sincerely appreciate the Court’s prompt scheduling of argument on this matter.
 4   Petitioner remains illegally incarcerated every day that this Petition remains pending, and so it
 5   is indeed an emergency. Accordingly, Petitioner respectfully requests that this Court rule as
 6   soon as possible.
 7    Dated: June 3, 2019                 /s/ Charles Gerstein
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